    Case 3:19-bk-30680-SHB                          Doc 5 Filed 03/10/19 Entered 03/10/19 01:15:02                                               Desc Ch
                                                  7 First Mtg Corp No POC Page 1 of 1
Information to identify the case:
Debtor
                   HED Products, LLC                                                                EIN 46−3951384
                   Name


United States Bankruptcy Court Eastern District of Tennessee
                                                                                                    Date case filed for chapter 7 3/9/19
Case number: 3:19−bk−30680−SHB

Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                             12/15

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at
https://ecf.tneb.uscourts.gov.

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                        HED Products, LLC

2. All other names used in the pdba HYPE Products, LLC
   last 8 years
3. Address                                   118 N. Peters Rd. #132
                                             Knoxville, TN 37923

4. Debtor's attorney                         Ryan E. Jarrard                                                      Contact phone 865.524.1873
                                             Quist, Fitzpatrick & Jarrard
    Name and address                         2121 First Tennessee Plaza
                                             Knoxville, TN 37929

5. Bankruptcy trustee                        W. Grey Steed                                                        Contact phone (865)671−1457
                                             11167 Kingston Pike, Suite 4
    Name and address                         Knoxville, TN 37934

6. Bankruptcy clerk's office                 William T. Magill                                                    Hours open:
                                             Clerk of Court                                                       Monday − Friday 8:00 AM − 4:30 PM
    Documents in this case may be            United States Bankruptcy Court
    filed at this address. You may           Howard H. Baker Jr. U.S. Courthouse
    inspect all records filed in this case   Suite 330, 800 Market Street                                         Contact phone (865) 545−4279
                                             Knoxville, TN 37902
    at this office or online at
    https://ecf.tneb.uscourts.gov.                                                                                Date: 3/10/19

7. Meeting of creditors                      April 16, 2019 at 02:30 PM                                           Location:
    The debtor's representative must
    attend the meeting to be                 The meeting may be continued or adjourned to a later date. If        Bankruptcy Meeting Room, 1st Floor,
    questioned under oath. Creditors         so, the date will be on the court docket.                            Howard H. Baker Jr. U.S. Courthouse,
    may attend, but are not required to                                                                           800 Market Street, Knoxville, TN 37902
    do so.

8. Proof of claim                            No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
                                             If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    Please do not file a proof of            that you may file a proof of claim and stating the deadline.
    claim unless you receive a notice
    to                                       However, secured creditors (creditors who have a security interest in the debtor(s)' property) must provide,
    do so.                                   prior to the meeting of creditors scheduled in line 7 above, proof to the bankruptcy trustee that their security
                                             interest has been perfected. Also, unless a written request for notice is filed at or before the meeting of
                                             creditors, the bankruptcy trustee may abandon property of the estate without further notice to creditors.

9. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                   extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.
Official Form 309C (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                      page 1
